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                  Exhibit B
                                                                                                                      Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 2 of 10


Category        Topic                       Email Subject                                                                  To                                               From                                  CC                                                   BCC   Sent             Privilege Justification
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         Invoice.msg                                                                    'olga@kartina.tv' <olga@kartina.tv>              Lucia Chan <LChan@dunnington.com>                                                                 3/12/2015 16:20 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       Re_ Invoice (1).msg                                                            Lucia Chan <LChan@dunnington.com>                Olga Panfilova <olga@kartina.tv>                                                                  3/19/2015 11:20 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       RE_ Invoice (1).msg                                                            'Olga Panfilova' <olga@kartina.tv>               Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>                         3/19/2015 12:08 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         Invoice & New Wire Transfer Instructions.msg                                   'Olga Panfilova' <olga@kartina.tv>               Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>                         4/24/2015 13:39 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       Re_ Invoice & New Wire Transfer Instructions.msg                               Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>                                                                  5/14/2015 10:59 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         Invoice (5).msg                                                                'Olga Panfilova' <olga@kartina.tv>               Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>                         6/15/2015 12:54 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         Invoice & New Wire Transfer Info.msg                                           'Olga Panfilova' <olga@kartina.tv>               Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>                          9/4/2015 11:38 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         Invoice (11).msg                                                               'Olga Panfilova' <olga@kartina.tv>               Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>                        11/10/2015 16:03 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       Re_ RUSSTV (12).msg                                                            Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>                                                                 12/14/2015 10:17 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       RE_ RUSSTV (11).msg                                                            'Olga Panfilova' <olga@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>                                                              12/14/2015 10:24 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         RUSSTV (10).msg                                                                'Olga Panfilova' <olga@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>                                                              12/17/2015 10:57 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       Re_ RUSSTV (23).msg                                                            Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>      Laurie Mantell <LMantell@dunnington.com>                   12/30/2015 14:00 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         Invoice (2).msg                                                                'Olga Panfilova' <olga@kartina.tv>               Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>                         2/10/2016 13:43 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         RUSSTV (1).msg                                                                 'Olga Panfilova' <olga@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>   Lucia Chan <LChan@dunnington.com>                           2/11/2016 11:01 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         RUSSTV (13).msg                                                                'Olga Panfilova' <olga@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>                                                               2/22/2016 11:04 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       RussTV (15).msg                                                                'Olga Panfilova' <olga@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>                                                                3/4/2016 15:35 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         RUSSTV Bill through 3_18_16.msg                                                'Olga Panfilova' <olga@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>                                                               3/22/2016 14:03 Privilege
Legal           Discussion of Division of                                                                                                                                                                                                                                                     Attorney‐Client
Fees/Proceeds   Billing                     Re_ CTC et al. v. ActavaTV Inc. ‐ 15 Civ. 8681 ‐ Actava's Firs (2).msg         Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>                                                                   3/24/2016 9:58 Privilege
Legal           Discussion of Division of                                                                                                                                                                                                                                                     Attorney‐Client
Fees/Proceeds   Billing                     Re_ CTC et al. v. ActavaTV Inc. ‐ 15 Civ. 8681 ‐ Actava's Firs.msg             Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>                                                                  3/24/2016 10:08 Privilege
Legal           Discussion of Division of                                                                                                                                                                                                                                                     Attorney‐Client
Fees/Proceeds   Billing                     Re_ CTC et al. v. ActavaTV Inc. ‐ 15 Civ. 8681 ‐ Actava's Firs (5).msg         Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>                                                                  3/24/2016 10:18 Privilege

                                                                                                                                                                                                                  olga@kartina.tv; Elena Nazarova
                                                                                                                                                                                                                  <evnazarova@ctcmedia.ru>; Sergey Kupreev
                                                                                                                                                                                                                  <skupreev@ctcmedia.ru>; Samuel Blaustein
                                                                                                                                                                                                                  <SBlaustein@dunnington.com>; Anna‐Katharina
Legal           Discussion of Division of                                                                                  Raymond Dowd <RDowd@dunnington.com>; Georgiy                                           Hoffmann <AHoffmann@dunnington.com>;                                        Attorney‐Client
Fees/Proceeds   Billing                     RE_ CTC et al. v. ActavaTV Inc. ‐ 15 Civ. 8681 ‐ Actava's Firs (24).msg        Grachev <GGrachev@ctcmedia.ru>                   Maksim Bobin <MBobin@ctcmedia.ru>     Christopher Vidulich <CVidulich@dunnington.com>             3/24/2016 11:03 Privilege
Legal           Discussion of Division of                                                                                                                                                                                                                                                     Attorney‐Client
Fees/Proceeds   Billing                     RE_ CTC et al. v. ActavaTV Inc. ‐ 15 Civ. 8681 ‐ Actava's Firs (20).msg        'Olga Panfilova' <olga@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>                                                               3/24/2016 11:31 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       Re_ CTC v Actava (10).msg                                                      Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>                                                                    4/5/2016 5:19 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Transfer of Invoice         RUSSTV Bill through 4_08_2016.msg                                              olga@kartina.tv                                  Raymond Dowd <RDowd@dunnington.com>   Samuel Blaustein <SBlaustein@dunnington.com>                4/11/2016 17:47 Privilege
                                                                                                                                                                                                                  Sergey Kupreev <skupreev@ctcmedia.ru>; Elena
Legal           Discussion of Distribution                                                                                 Olga Panfilova <olga@kartina.tv>; Raymond Dowd                                         Nazarova <evnazarova@ctcmedia.ru>; Georgiy                                  Attorney‐Client
Fees/Proceeds   of Settlement Proceeds Actava (1).msg                                                                      <RDowd@dunnington.com>                           Maksim Bobin <MBobin@ctcmedia.ru>     Grachev <GGrachev@ctcmedia.ru>                              4/18/2016 10:33 Privilege

Legal           Discussion of Distribution                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds   of Settlement Proceeds FW_ CTC_Actava (2).msg                                                              Olga Panfilova <olga@kartina.tv>                 Raymond Dowd <RDowd@dunnington.com>   Samuel Blaustein <SBlaustein@dunnington.com>                4/18/2016 16:43 Privilege
                                                                                                                                                                                                                  'Olga Panfilova' <olga@kartina.tv>; Jonathan Frank
Legal           Discussion of Distribution                                                                                                                                                                        <JFrank@dunnington.com>; Samuel Blaustein                                   Attorney‐Client
Fees/Proceeds   of Settlement Proceeds CTC v Actava (3).msg                                                                'Maksim Bobin' <MBobin@ctcmedia.ru>              Raymond Dowd <RDowd@dunnington.com>   <SBlaustein@dunnington.com>                                 4/27/2016 13:03 Privilege
Legal                                                                                                                                                                                                                                                                                         Attorney‐Client
Fees/Proceeds   Discussion of Invoice       Re_ Actava Payment.msg                                                         Raymond Dowd <RDowd@dunnington.com>              Olga Panfilova <olga@kartina.tv>                                                                    5/9/2016 3:30 Privilege
                                                                                                                Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 3 of 10


Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transfer of Invoice          Invoice (7).msg                                                        'Olga Panfilova' <olga@kartina.tv>            Lucia Chan <LChan@dunnington.com>           Raymond Dowd <RDowd@dunnington.com>                 5/12/2016 12:59 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Discussion of Invoice        FW_ Invoice.msg                                                        'Olga Panfilova' <olga@kartina.tv>            Raymond Dowd <RDowd@dunnington.com>                                                             5/18/2016 12:30 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Discussion of Invoice        Re_ Invoice.msg                                                        Raymond Dowd <RDowd@dunnington.com>           Olga Panfilova <olga@kartina.tv>                                                                 5/19/2016 4:16 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transfer of Invoice          Invoice (1).msg                                                        'Olga Panfilova' <olga@kartina.tv>            Lucia Chan <LChan@dunnington.com>           Raymond Dowd <RDowd@dunnington.com>                 6/16/2016 13:08 Privilege

                  Notification of Potential                                                                                                                                                                                                                                         Attorney‐Client
Contempt Motion   Breach of Settlement         FW_ Settlement of Actava TV Inc. Claim.msg                             'Olga Panfilova' <olga@kartina.tv>            Raymond Dowd <RDowd@dunnington.com>                                                             6/24/2016 13:13 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transfer of Invoice          Invoice (12).msg                                                       'Olga Panfilova' <olga@kartina.tv>            Lucia Chan <LChan@dunnington.com>           Raymond Dowd <RDowd@dunnington.com>                 8/19/2016 12:28 Privilege

Legal             Discussion of Distribution                                                                                                                                                                                                                                        Attorney‐Client
Fees/Proceeds     of Settlement Proceeds Matvil_ Channel One settlement.msg                                           Raymond Dowd <RDowd@dunnington.com>           Olga Panfilova <olga@kartina.tv>                                                                8/23/2016 10:11 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transfer of Invoice          Invoice (13).msg                                                       'Olga Panfilova' <olga@kartina.tv>            Lucia Chan <LChan@dunnington.com>           Raymond Dowd <RDowd@dunnington.com>                 9/12/2016 14:57 Privilege

Legal             Discussion of Distribution                                                                                                                                                                                                                                        Attorney‐Client
Fees/Proceeds     of Settlement Proceeds FW_ Channel One v. Infomir (16‐cv‐1318) (GBD)(BCM) (Settlement B.msg         Olga Panfilova <olga@kartina.tv>              Raymond Dowd <RDowd@dunnington.com>                                                             9/12/2016 17:21 Privilege
                                                                                                                                                                                                                Christopher Vidulich
Legal             Discussion of Distribution                                                                                                                                                                    <CVidulich@dunnington.com>; Samuel Blaustein                        Attorney‐Client
Fees/Proceeds     of Settlement Proceeds       Channel One v. Infomir (16‐cv‐1318) (GBD)(BCM) (Settlement Betwe.msg   Olga Panfilova <olga@kartina.tv>              Raymond Dowd <RDowd@dunnington.com>         <SBlaustein@dunnington.com>                         9/12/2016 17:23 Privilege
                  Discussion of Actava's                                                                                                                                                                                                                                            Attorney‐Client
Contempt Motion   Relaunched Service           Actava. Important..msg                                                 Raymond Dowd <RDowd@dunnington.com>           Olga Panfilova <olga@kartina.tv>                                                                9/27/2016 10:19 Privilege
                  Discussion of Actava's                                                                                                                                                                                                                                            Attorney‐Client
Contempt Motion   Relaunched Service           Re_ Actava. Important..msg                                             Raymond Dowd <RDowd@dunnington.com>           Olga Panfilova <olga@kartina.tv>                                                                9/27/2016 11:03 Privilege
                  Discussion of Actava's                                                                                                                                                                                                                                            Attorney‐Client
Contempt Motion   Relaunched Service           RE_ Actava. Important..msg                                             'Olga Panfilova' <olga@kartina.tv>            Raymond Dowd <RDowd@dunnington.com>                                                             9/27/2016 11:12 Privilege

                  Discussion of Potential                                                                                                                                                                       Samuel Blaustein <SBlaustein@dunnington.com>;                       Attorney‐Client
Contempt Motion   Action Against Actava        RussTV (2).msg                                                         'Olga Panfilova' <olga@kartina.tv>            Raymond Dowd <RDowd@dunnington.com>         Christopher Vidulich <CVidulich@dunnington.com>      9/30/2016 8:57 Privilege

                  Discussion of                                                                                                                                                                                 'Olga Panfilova' <olga@kartina.tv>; Hardin Rowley
                  Matvil/Actava                                                                                                                                                                                 <HRowley@dunnington.com>; Samuel Blaustein                          Attorney‐Client
Contempt Motion   Coordination                 FW_ Recommended Response for Actava‐Matvil Alliance.msg                'Alexander Shprekher' <shprekher@gmail.com>   Raymond Dowd <RDowd@dunnington.com>         <SBlaustein@dunnington.com>                         10/3/2016 18:57 Privilege

                  Discussion of                                                                                                                                                                                 'Olga Panfilova' <olga@kartina.tv>; Hardin Rowley
                  Matvil/Actava                                                                                                                                                                                 <HRowley@dunnington.com>; Samuel Blaustein                          Attorney‐Client
Contempt Motion   Coordination                 FW_ Recommended Response for Actava‐Matvil Alliance.msg                'Alexander Shprekher' <shprekher@gmail.com>   Raymond Dowd <RDowd@dunnington.com>         <SBlaustein@dunnington.com>                         10/3/2016 18:57 Privilege
                  Discussion of
                  Matvil/Actava                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion   Coordination                 Re_ Recommended Response for Actava‐Matvil Alliance.msg                Raymond Dowd <RDowd@dunnington.com>           Olga Panfilova <olga@kartina.tv>                                                                 10/4/2016 2:55 Privilege
                  Discussion of
                  Matvil/Actava                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion   Coordination                 RE_ Recommended Response for Actava‐Matvil Alliance.msg                'Olga Panfilova' <olga@kartina.tv>            Raymond Dowd <RDowd@dunnington.com>                                                              10/4/2016 9:45 Privilege
                  Discussion of
                  Matvil/Actava                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion   Coordination                 FW_ Actava.msg                                                         'Olga Panfilova' <olga@kartina.tv>            Raymond Dowd <RDowd@dunnington.com>                                                              10/4/2016 9:50 Privilege
                  Discussion of
                  Matvil/Actava                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion   Coordination                 Actava.msg                                                             Raymond Dowd <RDowd@dunnington.com>           Alexander Shprekher <shprekher@gmail.com>   Olga Panfilova <olga@kartina.tv>                    10/4/2016 11:06 Privilege
                  Discussion of
                  Matvil/Actava                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion   Coordination                 Actava.msg                                                             Raymond Dowd <RDowd@dunnington.com>           Alexander Shprekher <shprekher@gmail.com>   Olga Panfilova <olga@kartina.tv>                    10/4/2016 11:06 Privilege
                  Discussion of
                  Matvil/Actava                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion   Coordination                 RE_ Actava (6).msg                                                     'Alexander Shprekher' <shprekher@gmail.com>   Raymond Dowd <RDowd@dunnington.com>         Olga Panfilova <olga@kartina.tv>                    10/4/2016 11:32 Privilege
                  Discussion of
                  Matvil/Actava                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion   Coordination                 RE_ Actava (1).msg                                                     'Alexander Shprekher' <shprekher@gmail.com>   Raymond Dowd <RDowd@dunnington.com>         Olga Panfilova <olga@kartina.tv>                    10/4/2016 11:32 Privilege

                  Transmittal of Demand                                                                                                                                                                         Hardin Rowley <HRowley@dunnington.com>;                             Attorney‐Client
Contempt Motion   Letter Draft                 Actava Demand Letter.msg                                               Olga Panfilova <olga@kartina.tv>              Raymond Dowd <RDowd@dunnington.com>         Christopher Vidulich <CVidulich@dunnington.com>     10/5/2016 10:33 Privilege
                                                                                                                 Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 4 of 10


                    Discussion of
                    Matvil/Actava                                                                                                                                                                                                                                                                 Attorney‐Client
Contempt Motion     Coordination                FW_ RUSSTV ‐ Confidentiality.msg                                           Olga Panfilova <olga@kartina.tv>                  Raymond Dowd <RDowd@dunnington.com>                                                                  10/5/2016 10:52 Privilege
                    Discussion of Actava's                                                                                                                                                                                                                                                        Attorney‐Client
Contempt Motion     Relaunched Service          Fw_ CTC v Actava (4).msg                                                   Olga Panfilova <olga@kartina.tv>                  Raymond Dowd <RDowd@dunnington.com>                                                                   10/6/2016 7:04 Privilege

                    Discussion of Actava's                                                                                                                                                                                     Hardin Rowley <HRowley@dunnington.com>;                            Attorney‐Client
Contempt Motion     Relaunched Service          Re_ Actava Demand Letter.msg                                               Raymond Dowd <RDowd@dunnington.com>               Olga Panfilova <olga@kartina.tv>                  Christopher Vidulich <CVidulich@dunnington.com>    10/11/2016 7:33 Privilege
                    Discussion of Demand                                                                                                                                                                                                                                                          Attorney‐Client
Contempt Motion     Letter                      Re_ CTC v Actava (5).msg                                                   Raymond Dowd <RDowd@dunnington.com>               Olga Panfilova <olga@kartina.tv>                                                                     10/11/2016 7:40 Privilege

                    Discussion of Demand                                                                                                                                                                                       Hardin Rowley <HRowley@dunnington.com>;                            Attorney‐Client
Contempt Motion     Letter                      RE_ Actava Demand Letter.msg                                               'Olga Panfilova' <olga@kartina.tv>                Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>    10/11/2016 8:12 Privilege
                    Discussion of Demand                                                                                                                                                                                                                                                          Attorney‐Client
Contempt Motion     Letter                      RE_ CTC v Actava (2).msg                                                   'Olga Panfilova' <olga@kartina.tv>                Raymond Dowd <RDowd@dunnington.com>                                                                  10/11/2016 8:17 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds       Discussion of Invoice       Payment..msg                                                               Raymond Dowd <RDowd@dunnington.com>               Olga Panfilova <olga@kartina.tv>                                                                     10/12/2016 9:12 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds       Invoice Transmittal         Invoice (10).msg                                                           'Olga Panfilova' <olga@kartina.tv>                Lucia Chan <LChan@dunnington.com>                 Raymond Dowd <RDowd@dunnington.com>               10/12/2016 13:11 Privilege

                    Investigation of Actava's                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion     Relaunched Service          Actava (1).msg                                                             Raymond Dowd <RDowd@dunnington.com>               Denis Panschinski <p.d@kartina.tv>                olga@kartina.tv                                    10/13/2016 6:05 Privilege

                    Investigation of Actava's                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion     Relaunched Service          Actava (4).msg                                                             Raymond Dowd <RDowd@dunnington.com>               Denis Panschinski <p.d@kartina.tv>                olga@kartina.tv                                    10/13/2016 6:05 Privilege

                    Investigation of Actava's                                                                                                                                                                                  olga@kartina.tv; Christopher Vidulich                              Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Actava.msg                                                             'Denis Panschinski' <p.d@kartina.tv>              Raymond Dowd <RDowd@dunnington.com>               <CVidulich@dunnington.com>                         10/13/2016 8:37 Privilege

                    Investigation of Actava's                                                                                                                                                                                  olga@kartina.tv; Christopher Vidulich                              Attorney‐Client
Contempt Motion     Relaunched Service          Re[2]_ Actava.msg                                                          Raymond Dowd <RDowd@dunnington.com>               Denis Panschinski <p.d@kartina.tv>                <CVidulich@dunnington.com>                         10/13/2016 9:40 Privilege

                    Investigation of Actava's                                                                                                                                                                                  olga@kartina.tv; Christopher Vidulich                              Attorney‐Client
Contempt Motion     Relaunched Service          Re[2]_ Actava (1).msg                                                      Raymond Dowd <RDowd@dunnington.com>               Denis Panschinski <p.d@kartina.tv>                <CVidulich@dunnington.com>                         10/13/2016 9:40 Privilege

                    Investigation of Actava's                                                                                                                                                                                  olga@kartina.tv; Christopher Vidulich                              Attorney‐Client
Contempt Motion     Relaunched Service          Re[2]_ Actava.msg                                                          Raymond Dowd <RDowd@dunnington.com>               Denis Panschinski <p.d@kartina.tv>                <CVidulich@dunnington.com>                         10/13/2016 9:40 Privilege

                    Investigation of Actava's                                                                                                                                                                                  olga@kartina.tv; Christopher Vidulich                              Attorney‐Client
Contempt Motion     Relaunched Service          Re[2]_ Actava (1).msg                                                      Raymond Dowd <RDowd@dunnington.com>               Denis Panschinski <p.d@kartina.tv>                <CVidulich@dunnington.com>                         10/13/2016 9:40 Privilege

                    Investigation of Actava's                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion     Relaunched Service          Re_ Skype ‐ Actava.msg                                                     Raymond Dowd <RDowd@dunnington.com>               Olga Panfilova <olga@kartina.tv>                  Christopher Vidulich <CVidulich@dunnington.com>    10/17/2016 8:53 Privilege

                    Investigation of Actava's                                                                                                                                                                                                                                                     Attorney‐Client
Contempt Motion     Relaunched Service          FW_ Skype ‐ Actava.msg                                                     olga@kartina.tv                                   Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>    10/18/2016 9:53 Privilege

                    Investigation of Actava's                                                                                                                                                                                  olga@kartina.tv; Raymond Dowd                                      Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Re[2]_ Actava.msg                                                      'Denis Panschinski' <p.d@kartina.tv>              Christopher Vidulich <CVidulich@dunnington.com>   <RDowd@dunnington.com>                            10/20/2016 17:20 Privilege

                    Investigation of Actava's                                                                                                                                                                                  olga@kartina.tv; Raymond Dowd                                      Attorney‐Client
Contempt Motion     Relaunched Service          Re[4]_ Actava.msg                                                          Christopher Vidulich <CVidulich@dunnington.com>   Denis Panschinski <p.d@kartina.tv>                <RDowd@dunnington.com>                             10/21/2016 3:37 Privilege

                   Investigation of Actava's                                                                                                                                                                                   olga@kartina.tv; Raymond Dowd                                      Attorney‐Client
Contempt Motion    Relaunched Service          Re[4]_ Actava.msg                                                           Christopher Vidulich <CVidulich@dunnington.com>   Denis Panschinski <p.d@kartina.tv>                <RDowd@dunnington.com>                             10/21/2016 3:37 Privilege
                   Transmittal of Letter from
                   Matvil Identifying Referral                                                                                                                                                                                 Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Referral Agreement Agreement                   FW_ Notice of Suspected Breach of Settlement Agreement and Relea (3).msg    'Olga Panfilova' <olga@kartina.tv>                Raymond Dowd <RDowd@dunnington.com>               Hardin Rowley <HRowley@dunnington.com>            10/28/2016 15:11 Privilege

                    Discussion of Referral                                                                                                                                                                                     Hardin Rowley <HRowley@dunnington.com>;                            Attorney‐Client
Contempt Motion     Agreement                   Fw_ Notice of Suspected Breach of Settlement Agreement and Relea (6).msg   Olga Panfilova <olga@kartina.tv>                  Raymond Dowd <RDowd@dunnington.com>               Samuel Blaustein <SBlaustein@dunnington.com>      10/28/2016 17:50 Privilege
                                                                                                                                                                                                                                                                                                  Attorney‐Client
                   Discussion of Referral                                                                                                                                                                                      Hardin Rowley <HRowley@dunnington.com>;                            Privilege, Work Product
Referral Agreement Agreement                    Fw_ Notice of Suspected Breach of Settlement Agreement and Relea (6).msg   Olga Panfilova <olga@kartina.tv>                  Raymond Dowd <RDowd@dunnington.com>               Samuel Blaustein <SBlaustein@dunnington.com>      10/28/2016 17:50 Privilege
                                                                                                                    Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 5 of 10



                    Discussion of Referral                                                                                                                                                                                                Hardin Rowley <HRowley@dunnington.com>;                         Attorney‐Client
Contempt Motion     Agreement                   Re_ Notice of Suspected Breach of Settlement Agreement and Relea.msg       Raymond Dowd <RDowd@dunnington.com>                          Olga Panfilova <olga@kartina.tv>                  Samuel Blaustein <SBlaustein@dunnington.com>   10/31/2016 11:31 Privilege
                                                                                                                                                                                                                                                                                                          Attorney‐Client
                   Discussion of Referral                                                                                                                                                                                                 Hardin Rowley <HRowley@dunnington.com>;                         Privilege, Work Product
Referral Agreement Agreement                    Re_ Notice of Suspected Breach of Settlement Agreement and Relea.msg       Raymond Dowd <RDowd@dunnington.com>                          Olga Panfilova <olga@kartina.tv>                  Samuel Blaustein <SBlaustein@dunnington.com>   10/31/2016 11:31 Privilege

                    Investigation of Actava's                                                                                                                                                                                             olga@kartina.tv; Raymond Dowd                                   Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Re[4]_ Actava (1).msg                                                  'Denis Panschinski' <p.d@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   <RDowd@dunnington.com>                          11/1/2016 11:45 Privilege
                    Discussion of Referral                                                                                                                                                                                                                                                                Attorney‐Client
Contempt Motion     Agreement                   FW_ Notice of Suspected Breach of Settlement Agreement and Relea (1).msg   'Olga Panfilova' <olga@kartina.tv>                           Raymond Dowd <RDowd@dunnington.com>                                                               11/3/2016 11:03 Privilege
                                                                                                                                                                                                                                                                                                          Attorney‐Client
                   Discussion of Referral                                                                                                                                                                                                                                                                 Privilege, Work Product
Referral Agreement Agreement                    FW_ Notice of Suspected Breach of Settlement Agreement and Relea (1).msg   'Olga Panfilova' <olga@kartina.tv>                           Raymond Dowd <RDowd@dunnington.com>                                                               11/3/2016 11:03 Privilege
                   Discussion of Referral                                                                                                                                                                                                                                                                 Attorney‐Client
Contempt Motion Agreement                       Re_ Notice of Suspected Breach of Settlement Agreement and Relea (3).msg   Raymond Dowd <RDowd@dunnington.com>                          Olga Panfilova <olga@kartina.tv>                                                                   11/4/2016 6:49 Privilege
                                                                                                                                                                                                                                                                                                          Attorney‐Client
                   Discussion of Referral                                                                                                                                                                                                                                                                 Privilege, Work Product
Referral Agreement Agreement                    Re_ Notice of Suspected Breach of Settlement Agreement and Relea (3).msg   Raymond Dowd <RDowd@dunnington.com>                          Olga Panfilova <olga@kartina.tv>                                                                   11/4/2016 6:49 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Re[4]_ Actava.msg                                                      'Denis Panschinski' <p.d@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   Dowd <RDowd@dunnington.com>                     11/7/2016 10:22 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          Re[6]_ Actava.msg                                                          Christopher Vidulich <CVidulich@dunnington.com>              Denis Panschinski <p.d@kartina.tv>                Dowd <RDowd@dunnington.com>                     11/7/2016 10:30 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          Re[6]_ Actava.msg                                                          Christopher Vidulich <CVidulich@dunnington.com>              Denis Panschinski <p.d@kartina.tv>                Dowd <RDowd@dunnington.com>                     11/7/2016 10:30 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Re[6]_ Actava (1).msg                                                  'Denis Panschinski' <p.d@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   Dowd <RDowd@dunnington.com>                     11/7/2016 10:32 Privilege

                    Investigation of Actava's                                                                              'Denis Panschinski' <p.d@kartina.tv>; Christopher Vidulich                                                                                                                     Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Re[6]_ Actava.msg                                                      <CVidulich@dunnington.com>                                   Raymond Dowd <RDowd@dunnington.com>               'olga@kartina.tv' <olga@kartina.tv>             11/7/2016 10:36 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          Re[8]_ Actava.msg                                                          Christopher Vidulich <CVidulich@dunnington.com>              Denis Panschinski <p.d@kartina.tv>                Dowd <RDowd@dunnington.com>                     11/7/2016 11:13 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          Re[8]_ Actava.msg                                                          Christopher Vidulich <CVidulich@dunnington.com>              Denis Panschinski <p.d@kartina.tv>                Dowd <RDowd@dunnington.com>                     11/7/2016 11:13 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          Re[9]_ Actava.msg                                                          Christopher Vidulich <CVidulich@dunnington.com>              Denis Panschinski <p.d@kartina.tv>                Dowd <RDowd@dunnington.com>                      11/9/2016 8:27 Privilege

                    Investigation of Actava's                                                                                                                                                                                             'olga@kartina.tv' <olga@kartina.tv>; Raymond                    Attorney‐Client
Contempt Motion     Relaunched Service          Re[9]_ Actava.msg                                                          Christopher Vidulich <CVidulich@dunnington.com>              Denis Panschinski <p.d@kartina.tv>                Dowd <RDowd@dunnington.com>                      11/9/2016 8:27 Privilege

                    Investigation of Actava's                                                                              'Denis Panschinski' <p.d@kartina.tv>; Christopher Vidulich                                                                                                                     Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Re[9]_ Actava.msg                                                      <CVidulich@dunnington.com>                                   Raymond Dowd <RDowd@dunnington.com>               'olga@kartina.tv' <olga@kartina.tv>              11/9/2016 8:29 Privilege
                                                                                                                                                                                                                                          Christopher Vidulich
                    Investigation of Actava's                                                                              'Denis Panschinski' <p.d@kartina.tv>; 'olga@kartina.tv'                                                        <CVidulich@dunnington.com>; Samuel Blaustein                    Attorney‐Client
Contempt Motion     Relaunched Service          RE_ Re[9]_ Actava (1).msg                                                  <olga@kartina.tv>                                            Raymond Dowd <RDowd@dunnington.com>               <SBlaustein@dunnington.com>                      11/9/2016 8:38 Privilege
                                                                                                                                                                                                                                          Christopher Vidulich
                    Investigation of Actava's                                                                              Raymond Dowd <RDowd@dunnington.com>;                                                                           <CVidulich@dunnington.com>; Samuel Blaustein                    Attorney‐Client
Contempt Motion     Relaunched Service          Re[11]_ Actava.msg                                                         'olga@kartina.tv' <olga@kartina.tv>                          Denis Panschinski <p.d@kartina.tv>                <SBlaustein@dunnington.com>                     11/9/2016 10:37 Privilege
                                                                                                                                                                                                                                          Christopher Vidulich
                   Investigation of Actava's                                                                               Raymond Dowd <RDowd@dunnington.com>;                                                                           <CVidulich@dunnington.com>; Samuel Blaustein                    Attorney‐Client
Contempt Motion    Relaunched Service        Re[11]_ Actava.msg                                                            'olga@kartina.tv' <olga@kartina.tv>                          Denis Panschinski <p.d@kartina.tv>                <SBlaustein@dunnington.com>                     11/9/2016 10:37 Privilege
                   Discussion of Settlement                                                                                                                                                                                                                                                               Attorney‐Client
Contempt Motion Agreement                    FW_ Channel One et al. v. Infomir LLC et al. (16‐cv‐1318)(GBD)(B.msg          'olga@kartina.tv' <olga@kartina.tv>                          Raymond Dowd <RDowd@dunnington.com>                                                               11/9/2016 17:21 Privilege
                   Transmittal of Draft                                                                                                                                                                                                                                                                   Attorney‐Client
                   Response Letter to                                                                                                                                                                                                                                                                     Privilege, Work Product
Referral Agreement Actava                    FW_ Channel One et al. v. Infomir LLC et al. (16‐cv‐1318)(GBD)(B.msg          'olga@kartina.tv' <olga@kartina.tv>                          Raymond Dowd <RDowd@dunnington.com>                                                               11/9/2016 17:21 Privilege
                                                                                                                   Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 6 of 10



                                                                                                                                                                                                                                Raymond Dowd <RDowd@dunnington.com>;
                    Transmittal of Response                                                                                                                                                                                     Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion     Letter to Actava            Channel One v. Infomir (16‐cv‐1318) (Response Letter re_ Actava).msg       'olga@kartina.tv' <olga@kartina.tv>                Christopher Vidulich <CVidulich@dunnington.com>   Hardin Rowley <HRowley@dunnington.com>            11/10/2016 17:52 Privilege

                    Transmittal of Response                                                                                                                                                                                     Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion     Letter to Actava            Notice of Suspected Breach of Settlement Agreement and Release.msg         'Olga Panfilova' <olga@kartina.tv>                 Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>   11/14/2016 15:36 Privilege
                                                                                                                                                                                                                                                                                                   Attorney‐Client
                   Transmittal of Response                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;                      Privilege, Work Product
Referral Agreement Letter to Actava             Notice of Suspected Breach of Settlement Agreement and Release.msg         'Olga Panfilova' <olga@kartina.tv>                 Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>   11/14/2016 15:36 Privilege

                    Investigation of Actava's                                                                              Raymond Dowd <RDowd@dunnington.com>; Christopher                                                                                                                        Attorney‐Client
Contempt Motion     Relaunched Service          Re_ RussTV ‐ Set Top Boxes __ Actava.msg                                   Vidulich <CVidulich@dunnington.com>                Denis Panschinski <p.d@kartina.tv>                olga@kartina.tv                                    11/15/2016 7:24 Privilege

                    Investigation of Actava's                                                                              Raymond Dowd <RDowd@dunnington.com>; Christopher                                                                                                                        Attorney‐Client
Contempt Motion     Relaunched Service          Re_ RussTV ‐ Set Top Boxes __ Actava.msg                                   Vidulich <CVidulich@dunnington.com>                Denis Panschinski <p.d@kartina.tv>                olga@kartina.tv                                    11/15/2016 7:24 Privilege

                    Investigation of Actava's                                                                                                                                                                                   'Olga Panfilova' <olga@kartina.tv>; Christopher                    Attorney‐Client
Contempt Motion     Relaunched Service          FW_ Notice of Suspected Breach of Settlement Agreement and Relea (4).msg   'Denis Panschinski' <p.d@kartina.tv>               Raymond Dowd <RDowd@dunnington.com>               Vidulich <CVidulich@dunnington.com>                11/15/2016 8:50 Privilege
                    Discussion of
                    Matvil/Actava                                                                                                                                                                                                                                                                  Attorney‐Client
Contempt Motion     Coordination                Re_ Notice of Suspected Breach of Settlement Agreement and Relea (4).msg   Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                                                                    11/15/2016 10:29 Privilege
                                                                                                                                                                                                                                                                                                   Attorney‐Client
                   Discussion of Referral                                                                                                                                                                                                                                                          Privilege, Work Product
Referral Agreement Agreement                    Re_ Notice of Suspected Breach of Settlement Agreement and Relea (4).msg   Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                                                                    11/15/2016 10:29 Privilege
                   Transfer of
                   Correspondence from                                                                                                                                                                                                                                                             Attorney‐Client
Contempt Motion Actava's Attorneys              FW_ Notice of Suspected Breach of Settlement Agreement and Relea.msg       'Olga Panfilova' <olga@kartina.tv>                 Raymond Dowd <RDowd@dunnington.com>                                                                  11/16/2016 8:53 Privilege
                                                                                                                                                                                                                                Samuel Blaustein <SBlaustein@dunnington.com>;
                    Discussion of                                                                                                                                                                                               Christopher Vidulich
                    Matvil/Actava                                                                                                                                                                                               <CVidulich@dunnington.com>; David Hoffman                          Attorney‐Client
Contempt Motion     Coordination                Fw_ Notice of Suspected Breach of Settlement Agreement and Relea (2).msg   Olga Panfilova <olga@kartina.tv>                   Raymond Dowd <RDowd@dunnington.com>               <DHoffman@dunnington.com>                         11/18/2016 17:56 Privilege
                                                                                                                                                                                                                                Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                                                Christopher Vidulich                                               Attorney‐Client
                   Discussion of Litigation                                                                                                                                                                                     <CVidulich@dunnington.com>; David Hoffman                          Privilege, Work Product
Referral Agreement Strategy                     Fw_ Notice of Suspected Breach of Settlement Agreement and Relea (2).msg   Olga Panfilova <olga@kartina.tv>                   Raymond Dowd <RDowd@dunnington.com>               <DHoffman@dunnington.com>                         11/18/2016 17:56 Privilege
                                                                                                                                                                                                                                Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                                                Christopher Vidulich
                    Discussion of Litigation                                                                                                                                                                                    <CVidulich@dunnington.com>; David Hoffman                          Attorney‐Client
Contempt Motion     Strategy                    Re_ Notice of Suspected Breach of Settlement Agreement and Relea (2).msg   Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                  <DHoffman@dunnington.com>                          11/19/2016 1:42 Privilege
                                                                                                                                                                                                                                Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                                                Christopher Vidulich                                               Attorney‐Client
                   Discussion of Litigation                                                                                                                                                                                     <CVidulich@dunnington.com>; David Hoffman                          Privilege, Work Product
Referral Agreement Strategy                     Re_ Notice of Suspected Breach of Settlement Agreement and Relea (2).msg   Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                  <DHoffman@dunnington.com>                          11/19/2016 1:42 Privilege
                   Discussion of Litigation                                                                                                                                                                                                                                                        Attorney‐Client
Contempt Motion Strategy                        RE_ Notice of Suspected Breach of Settlement Agreement and Relea (1).msg   'Olga Panfilova' <olga@kartina.tv>                 Raymond Dowd <RDowd@dunnington.com>                                                                 11/19/2016 12:26 Privilege
                                                                                                                                                                                                                                                                                                   Attorney‐Client
                   Discussion of Litigation                                                                                                                                                                                                                                                        Privilege, Work Product
Referral Agreement Strategy                     RE_ Notice of Suspected Breach of Settlement Agreement and Relea (1).msg   'Olga Panfilova' <olga@kartina.tv>                 Raymond Dowd <RDowd@dunnington.com>                                                                 11/19/2016 12:26 Privilege
                   Discussion of Litigation                                                                                                                                                                                                                                                        Attorney‐Client
Contempt Motion Strategy                        Re_ Notice of Suspected Breach of Settlement Agreement and Relea (5).msg   Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                                                                     11/22/2016 9:32 Privilege
                                                                                                                                                                                                                                                                                                   Attorney‐Client
                   Discussion of Litigation                                                                                                                                                                                                                                                        Privilege, Work Product
Referral Agreement Strategy                     Re_ Notice of Suspected Breach of Settlement Agreement and Relea (5).msg   Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                                                                     11/22/2016 9:32 Privilege

                    Investigation of Actava's                                                                                                                                                                                                                                                      Attorney‐Client
Contempt Motion     Relaunched Service          Re_ Notice of Suspected Breach of Settlement Agreement and Relea (6).msg   Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                                                                     11/22/2016 9:48 Privilege
Legal                                                                                                                                                                                                                                                                                              Attorney‐Client
Fees/Proceeds       Transmittal of Invoice      Invoice (4).msg                                                            'Olga Panfilova' <olga@kartina.tv>                 Lucia Chan <LChan@dunnington.com>                 Raymond Dowd <RDowd@dunnington.com>               11/22/2016 14:50 Privilege
                                                                                                                                                                                                                                                                                                   Attorney‐Client
Contempt Motion     Actava Investigation        Actava. (2).msg                                                            Raymond Dowd <RDowd@dunnington.com>                Olga Panfilova <olga@kartina.tv>                                                                     11/23/2016 9:29 Privilege
                                                                                                                     Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 7 of 10




                                                                                                                                                                                                      David Hoffman <DHoffman@dunnington.com>;
                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion    Actava Investigation       RE_ Actava. (1).msg                                                         'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>   Christopher Vidulich <CVidulich@dunnington.com>    11/23/2016 9:34 Privilege
                                                                                                                                                                                                                                                                         Attorney‐Client
Contempt Motion    Actava Investigation       Fwd_ Реклама актавы на радио дэвидсон.msg                                   Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                         11/23/2016 9:44 Privilege


                                                                                                                                                                                                      David Hoffman <DHoffman@dunnington.com>;
                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion    Actava Investigation       Re_ Actava..msg                                                             Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>      Christopher Vidulich <CVidulich@dunnington.com>    11/23/2016 9:47 Privilege
                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                      Christopher Vidulich
                                                                                                                                                                                                      <CVidulich@dunnington.com>; David Hoffman                          Attorney‐Client
Contempt Motion    Actava Investigation       Russtv ‐ Actava.msg                                                         'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>   <DHoffman@dunnington.com>                         11/25/2016 16:43 Privilege


                                                                                                                                                                                                      David Hoffman <DHoffman@dunnington.com>;
                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion    Actava Investigation       Fw_ Реклама актавы на ради о дэвидсон.msg                                   Olga Panfilova <olga@kartina.tv>      Raymond Dowd <RDowd@dunnington.com>   Christopher Vidulich <CVidulich@dunnington.com>    11/28/2016 6:15 Privilege

                                                                                                                                                                                                      Brian Mangan <BMangan@dunnington.com>;
                   Transmittal of Draft of                                                                                                                                                            Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion    Motion for Contempt        Actava ‐ Motion for Contempt.msg                                            'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>   Christopher Vidulich <CVidulich@dunnington.com>    12/7/2016 17:18 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds      Transmittal of Invoice     Invoice (6).msg                                                             'Olga Panfilova' <olga@kartina.tv>    Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>                12/8/2016 16:01 Privilege

                                                                                                                                                                                                      Brian Mangan <BMangan@dunnington.com>;
                   Discussion of Motion for                                                                                                                                                           Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion    Contempt                   Re_ Actava ‐ Motion for Contempt.msg                                        Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>      Christopher Vidulich <CVidulich@dunnington.com>     12/9/2016 8:15 Privilege


                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                      David Hoffman <DHoffman@dunnington.com>;
                   Discussion of Motion for                                                                                                                                                           Brian Mangan <BMangan@dunnington.com>;                             Attorney‐Client
Contempt Motion    Contempt                   FW_ Notice of Suspected Breach of Settlement Agreement and Relea (5).msg    'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>   Christopher Vidulich <CVidulich@dunnington.com>    12/9/2016 18:41 Privilege


                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                      David Hoffman <DHoffman@dunnington.com>;
                   Discussion of Motion for                                                                                                                                                           Brian Mangan <BMangan@dunnington.com>;                             Attorney‐Client
Referral Agreement Contempt                   FW_ Notice of Suspected Breach of Settlement Agreement and Relea (5).msg    'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>   Christopher Vidulich <CVidulich@dunnington.com>    12/9/2016 18:41 Privilege


                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                      David Hoffman <DHoffman@dunnington.com>;
                   Discussion of Motion for                                                                                                                                                           Brian Mangan <BMangan@dunnington.com>;                             Attorney‐Client
Contempt Motion    Contempt                   Re_ Notice of Suspected Breach of Settlement Agreement and Relea (1).msg    Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>      Christopher Vidulich <CVidulich@dunnington.com>    12/12/2016 8:09 Privilege


                                                                                                                                                                                                      Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                      David Hoffman <DHoffman@dunnington.com>;                           Attorney‐Client
                   Discussion of Motion for                                                                                                                                                           Brian Mangan <BMangan@dunnington.com>;                             Privilege, Work Product
Referral Agreement Contempt                   Re_ Notice of Suspected Breach of Settlement Agreement and Relea (1).msg    Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>      Christopher Vidulich <CVidulich@dunnington.com>    12/12/2016 8:09 Privilege
                   Discussion of Motion for                                                                                                                                                                                                                              Attorney‐Client
Contempt Motion Contempt                      Channel One et al v. Infomir et al (16‐cv‐1318) (GBD)(BCM) (Moti.msg        'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                     12/14/2016 12:12 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds      Discussion of Invoice      Re_ Another target. (1).msg                                                 Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                        12/21/2016 10:17 Privilege
Legal                                                                                                                                                                                                 Lucia Chan <LChan@dunnington.com>; Laurie                          Attorney‐Client
Fees/Proceeds      Discussion of Invoice      RE_ Another target. (3).msg                                                 'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>   Mantell <LMantell@dunnington.com>                 12/21/2016 10:38 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds      Discussion of Invoice      FW_ Another target..msg                                                     'Olga Panfilova' <olga@kartina.tv>    Lucia Chan <LChan@dunnington.com>     Raymond Dowd <RDowd@dunnington.com>               12/21/2016 12:19 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds      Discussion of Invoice      Re_ Another target..msg                                                     Lucia Chan <LChan@dunnington.com>     Olga Panfilova <olga@kartina.tv>                                                         12/30/2016 9:08 Privilege
                                                                                                                    Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 8 of 10


Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Discussion of Invoice      RE_ Another target. (1).msg                                                 'Olga Panfilova' <olga@kartina.tv>    Lucia Chan <LChan@dunnington.com>                 Raymond Dowd <RDowd@dunnington.com>               12/30/2016 10:24 Privilege
                  Discussion of Motion for                                                                                                                                                                                                                                          Attorney‐Client
Contempt Motion   Contempt                   On behalf of Toby Butterfield _ re. Joint Stock Company “Channel.msg        'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                  1/13/2017 10:38 Privilege
                  Discussion of Motion for                                                                                                                                                                                                                                          Attorney‐Client
Contempt Motion   Contempt                   Re_ On behalf of Toby Butterfield _ re. Joint Stock Company “Cha.msg        Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                     1/16/2017 10:19 Privilege
                                                                                                                                                                                                                 Samuel Blaustein <SBlaustein@dunnington.com>;
                                                                                                                                                                                                                 Christopher Vidulich
                  Discussion of Motion for                                                                                                                                                                       <CVidulich@dunnington.com>; David Hoffman                          Attorney‐Client
Contempt Motion   Contempt                   RUSSTV (Sanctions) against Actava.msg                                       'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>               <DHoffman@dunnington.com>                          1/23/2017 10:11 Privilege
                  Discussion of Motion for                                                                                                                                                                                                                                          Attorney‐Client
Contempt Motion   Contempt                   Channel One v. Infomir (16‐cv‐1318) (Actava Contempt Motion Lett.msg        'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                  1/25/2017 17:05 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transmittal of Invoice     Invoice (8).msg                                                             'Olga Panfilova' <olga@kartina.tv>    Lucia Chan <LChan@dunnington.com>                 Raymond Dowd <RDowd@dunnington.com>                 2/8/2017 14:50 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transmittal of Invoice     Invoice (3).msg                                                             'Olga Panfilova' <olga@kartina.tv>    Lucia Chan <LChan@dunnington.com>                 Raymond Dowd <RDowd@dunnington.com>                3/17/2017 12:59 Privilege
                  Discussion of Motion for                                                                                                                                                                                                                                          Attorney‐Client
Contempt Motion   Contempt                   Actava Contempt Motion.msg                                                  'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>               Samuel Blaustein <SBlaustein@dunnington.com>       4/24/2017 17:11 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transmittal of Invoice     Dunnington Bartholow & Miller Bill Through March 31 2017.msg                Olga Panfilova <olga@kartina.tv>      Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>                4/24/2017 17:27 Privilege
                  Discussion of Contempt                                                                                                                                                                                                                                            Attorney‐Client
Contempt Motion   Motion                     RussTV ‐ Pursuing Actava For Breach of the Settlement Agreement.msg         'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>               Samuel Blaustein <SBlaustein@dunnington.com>       4/25/2017 11:33 Privilege
                  Discussion of Contempt                                                                                                                                                                                                                                            Attorney‐Client
Contempt Motion   Motion                     Re_ RussTV ‐ Pursuing Actava For Breach of the Settlement Agree.msg         Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                  Samuel Blaustein <SBlaustein@dunnington.com>        4/28/2017 9:43 Privilege

                  Discussion of Contempt                                                                                                                                                                         Samuel Blaustein <SBlaustein@dunnington.com>;                      Attorney‐Client
Contempt Motion   Motion                     RE_ RussTV ‐ Pursuing Actava For Breach of the Settlement Agree.msg         'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>    4/28/2017 15:28 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Discussion of Invoice      Re_ Channel One v. Infomir (16‐cv‐1318)(Subpoenas).msg                      Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                       5/3/2017 8:29 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Discussion of Invoice      RE_ Channel One v. Infomir (16‐cv‐1318)(Subpoenas).msg                      'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                    5/3/2017 8:50 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                           Attorney‐Client
Contempt Motion   Action Against Actava      FW_ Channel One v. Actava (Draft Complaint Exhibits Verificati.msg          'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>     5/8/2017 17:47 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                           Attorney‐Client
Contempt Motion   Action Against Actava      Re_ Channel One v. Actava (Draft Complaint Exhibits Verificati.msg          Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                  Christopher Vidulich <CVidulich@dunnington.com>      5/9/2017 3:02 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transmittal of Invoice     Dunnington Bartholow & Miller Bill Through April 30 2017.msg                'Olga Panfilova' <olga@kartina.tv>    Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>                5/19/2017 10:27 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                           Attorney‐Client
Contempt Motion   Action Against Actava      Fwd_ Channel One v. Actava (Draft Complaint Exhibits Verificat.msg          Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                      5/24/2017 4:37 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                           Attorney‐Client
Contempt Motion   Action Against Actava      Channel One v. Actava (Draft Complaint Exhibits Verification).msg           Olga Panfilova <olga@kartina.tv>      Raymond Dowd <RDowd@dunnington.com>                                                                   5/24/2017 9:19 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transmittal of Invoice     Dunnington Bartholow & Miller Bill Through May 31 2017.msg                  Olga Panfilova <olga@kartina.tv>      Christopher Vidulich <CVidulich@dunnington.com>                                                      6/13/2017 17:57 Privilege
Legal                                                                                                                                                                                                                                                                               Attorney‐Client
Fees/Proceeds     Transmittal of Invoice     Dunnington Bartholow & Miller Bill Through June 30 2017.msg                 Olga Panfilova <olga@kartina.tv>      Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>                 8/9/2017 17:33 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        Invoice. (1).msg                                                            Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                      9/18/2017 8:36 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        RE_ Invoice..msg                                                            'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                   9/18/2017 9:07 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        Re_ Invoice..msg                                                            Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                     9/18/2017 10:06 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        RE_ Invoice. (1).msg                                                        'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                  9/18/2017 10:46 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        FW_ RUSSTV ‐ Deferred Amount.msg                                            'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>    9/18/2017 16:37 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        RUSSTV ‐ Amended Bill and Retainer Agreement.msg                            'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                  9/18/2017 17:41 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        Re_ RUSSTV ‐ Amended Bill and Retainer Agreement.msg                        Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                      9/19/2017 9:56 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        RE_ RUSSTV ‐ Amended Bill and Retainer Agreement.msg                        'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>               Christopher Vidulich <CVidulich@dunnington.com>     9/19/2017 9:58 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        FW_ RUSSTV ‐ Amended Complaint Version 2.msg                                'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                  9/19/2017 11:00 Privilege
Legal             Discussion of Invoice,                                                                                                                                                                                                                                            Attorney‐Client
Fees/Proceeds     Payment Arrangement        Re_ RUSSTV ‐ Amended Complaint Version 2.msg                                Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                      9/22/2017 5:15 Privilege
                                                                                                                Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 9 of 10


Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Invoice..msg                                                               Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   9/22/2017 8:16 Privilege
Legal             Discussion of Payment                                                                                                                                                                                                                                                           Attorney‐Client
Fees/Proceeds     Arrangement               RE_ C1R trademarks (3).msg                                                 'Olga Panfilova' <olga@kartina.tv>                       Raymond Dowd <RDowd@dunnington.com>                                                               9/29/2017 16:12 Privilege
                  Discussion of Order on                                                                                                                                                                                                                                                          Attorney‐Client
Contempt Motion   Contempt Motion           Activity in Case 1_16‐cv‐01318‐GBD‐BCM Joint Stock Company Chann (6).msg 'Olga Panfilova' <olga@kartina.tv>                         Raymond Dowd <RDowd@dunnington.com>                                                               9/29/2017 17:19 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Transmittal of Invoice    RUSSTV Bill.msg                                                            'Olga Panfilova' <olga@kartina.tv>                       Raymond Dowd <RDowd@dunnington.com>                                                               9/29/2017 17:22 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                                         Attorney‐Client
Contempt Motion   Breach of Settlement      Re_ Activity in Case 1_16‐cv‐01318‐GBD‐BCM Joint Stock Company C (3).msg   Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   10/4/2017 7:41 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                                         Attorney‐Client
Contempt Motion   Breach of Settlement      Re_ Activity in Case 1_16‐cv‐01318‐GBD‐BCM Joint Stock Company C (3).msg   Olga Panfilova <olga@kartina.tv>                         Raymond Dowd <RDowd@dunnington.com>                                                                10/4/2017 7:54 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                                         Attorney‐Client
Contempt Motion   Breach of Settlement      Re_ Activity in Case 1_16‐cv‐01318‐GBD‐BCM Joint Stock Company C (4).msg   Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   10/4/2017 7:57 Privilege
                  Discussion of Potential                                                                                                                                                                                                                                                         Attorney‐Client
Contempt Motion   Breach of Settlement      Re_ Activity in Case 1_16‐cv‐01318‐GBD‐BCM Joint Stock Company C.msg       Olga Panfilova <olga@kartina.tv>                         Raymond Dowd <RDowd@dunnington.com>                                                                10/4/2017 8:04 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Transmittal of Invoice    Dunnington Bartholow & Miller Bill Through October 31 2017.msg             Olga Panfilova <olga@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>            11/29/2017 17:11 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Fwd_ AW_ Rechnung.msg                                                      Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   12/6/2017 8:43 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     RE_ AW_ Rechnung.msg                                                       Olga Panfilova <olga@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>             12/6/2017 18:10 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Re_ RussTV Wire (1).msg                                                    Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   1/5/2018 10:15 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Transmittal of Invoice    Dunnington Bartholow & Miller Bill Through December 31 2017.msg            Olga Panfilova <olga@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>             1/31/2018 16:05 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Re_ Dunnington Bartholow & Miller Bill Through December 31 2017.msg        Christopher Vidulich <CVidulich@dunnington.com>          Olga Panfilova <olga@kartina.tv>                  Raymond Dowd <RDowd@dunnington.com>              2/16/2018 9:30 Privilege
Legal                                                                                                                  Olga Panfilova <olga@kartina.tv>; Christopher Vidulich                                                                                                                     Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Re_ Dunnington Bartholow & Miller Bill Through December 31 2017 (1).msg    <CVidulich@dunnington.com>                               Raymond Dowd <RDowd@dunnington.com>                                                               2/16/2018 10:26 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Re_ Dunnington Bartholow & Miller Bill Through December 31 2017 (1).msg    Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   2/19/2018 9:18 Privilege
Legal             Discussion of Payment                                                                                                                                                                                                                                                           Attorney‐Client
Fees/Proceeds     Arrangement               retainer.msg                                                               Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   3/5/2018 15:29 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Transmittal of Invoice    Dunnington Bartholow & Miller Bill Through February 28 2018.msg            Olga Panfilova <olga@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>             3/26/2018 14:57 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Transmittal of Invoice    Dunnington Bartholow & Miller Bill Through March 31 2018.msg               Olga Panfilova <olga@kartina.tv>                         Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>             5/23/2018 11:35 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Transmittal of Invoice    Dunnington Bartholow & Miller Bill Through April 30 2018.msg               olga@kartina.tv                                          Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>             7/26/2018 16:00 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Bill..msg                                                                  Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                    8/7/2018 9:29 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Issue..msg                                                                 Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   8/30/2018 8:38 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     Re_ WIP.msg                                                                Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                   9/28/2018 8:14 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     RE_ WIP.msg                                                                'Olga Panfilova' <olga@kartina.tv>                       Raymond Dowd <RDowd@dunnington.com>                                                               9/28/2018 13:00 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Transmittal of Invoice    Dunnington Bartholow & Miller Bill Through June 30 2018.msg                'Olga Panfilova' <olga@kartina.tv>                       Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>             10/8/2018 11:53 Privilege
Legal                                                                                                                                                                                                                                                                                             Attorney‐Client
Fees/Proceeds     Discussion of Invoice     RE_ Dunnington Bartholow & Miller Bill Through June 30 2018.msg            'Olga Panfilova' <olga@kartina.tv>                       Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>             10/8/2018 12:25 Privilege
Legal             Discussion of Payment                                                                                                                                                                                                                                                           Attorney‐Client
Fees/Proceeds     Arrangement               Fwd_ Иск от Актавы.msg                                                     Raymond Dowd <RDowd@dunnington.com>                      Olga Panfilova <olga@kartina.tv>                                                                 10/12/2018 10:35 Privilege
                                                                                                                                                                                                                                  Raymond Dowd <RDowd@dunnington.com>;
                                                                                                                                                                                                                                  Christopher Vidulich
                                                                                                                                                                                                                                  <CVidulich@dunnington.com>; Samuel Blaustein
                  Discussion of Draft Notice                                                                                                                                                                                      <SBlaustein@dunnington.com>; Akbar Khan                         Attorney‐Client
Contempt Motion   of Breach to Actava        RussTV'_ Important for your Review_ Draft Notice of Breach to Ac.msg      'Olga Panfilova' <olga@kartina.tv>                       Hardin Rowley <HRowley@dunnington.com>            <AKhan@dunnington.com>                         11/14/2018 17:19 Privilege

                  Discussion of Draft Notice                                                                                                                                                                                      'olga@kartina.tv' <olga@kartina.tv>; Hardin                     Attorney‐Client
Contempt Motion   of Breach to Actava        Draft Notice of Breach to Actava.msg                                      'Alexander Shprekher' <shprekher@gmail.com>              Raymond Dowd <RDowd@dunnington.com>               Rowley <HRowley@dunnington.com>                 11/15/2018 9:24 Privilege

                  Discussion of Draft Notice                                                                                                                                                                                      'olga@kartina.tv' <olga@kartina.tv>; Hardin                     Attorney‐Client
Contempt Motion   of Breach to Actava        Draft Notice of Breach to Actava.msg                                      'Alexander Shprekher' <shprekher@gmail.com>              Raymond Dowd <RDowd@dunnington.com>               Rowley <HRowley@dunnington.com>                 11/15/2018 9:24 Privilege
                                                                                                       Case 1:18-cv-06626-ALC-KNF Document 137-2 Filed 12/13/19 Page 10 of 10


Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds   Transmittal of Invoice   Dunnington Bartholow & Miller Invoice Through November 30 2018.msg   'Olga Panfilova' <olga@kartina.tv>    Christopher Vidulich <CVidulich@dunnington.com>   Raymond Dowd <RDowd@dunnington.com>                12/13/2018 9:53 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds   Discussion of Invoice    Bill.msg                                                             Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                    12/21/2018 10:31 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds   Discussion of Invoice    Re_ Bill.msg                                                         Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                    12/21/2018 10:57 Privilege

Legal                                                                                                                                                                                                 Raymond Dowd <RDowd@dunnington.com>;                               Attorney‐Client
Fees/Proceeds   Discussion of Invoice    Updated statements.msg                                               'olga@kartina.tv' <olga@kartina.tv>   Laurie Mantell <LMantell@dunnington.com>          Christopher Vidulich <CVidulich@dunnington.com>   12/26/2018 14:37 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds   Discussion of Invoice    Payment. (1).msg                                                     Raymond Dowd <RDowd@dunnington.com>   Olga Panfilova <olga@kartina.tv>                                                                      1/3/2019 15:06 Privilege
Legal                                                                                                                                                                                                                                                                    Attorney‐Client
Fees/Proceeds   Discussion of Invoice    RE_ Payment. (2).msg                                                 'Olga Panfilova' <olga@kartina.tv>    Raymond Dowd <RDowd@dunnington.com>                                                                   1/3/2019 15:10 Privilege
